CM/ECF LIVE - U.S. District
                     CaseCourt:lamd-Extract Case
                            3:19-cv-00388-SDD-RLB            https://lamd-ecf.sso.dcn/cgi-bin/ExtractCase.pl?522717557144...
                                                        Document   6 07/10/19 Page 1 of 1



         Extracting Case Data ...
         Processing case table ...
         Processing document table ...
         Processing party table ...
         Processing attorney table ...
         Processing answer table ...
         Processing js56 table ...
         Processing motion table ...
         Processing schedule table ...
         Processing filer table ...
         Processing applicable_party table ...
         Processing dkttext table ...
         Processing dktpart table ...
         Processing dktentry table ...
         Processing schd_person table ...
         Processing person table ...

         Generating public docket sheet.
         Generating non-public docket sheet.
         Sending e-mail to InterdistrictTransfer_OHND@ohnd.uscourts.gov

         ... Extraction Completed




1 of 1                                                                                                  7/10/2019, 11:27 AM
